           Case 5:24-cr-00277-JMG Document 1 Filed 08/01/24 Page 1 of 11



                           IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                                    CRIMINAL NO.24-

                                                             DATE FILED: August 1,2024
                      v.
                                                             VIOLATIONS:
                                                             18 U.S.C. $ 1112
                                                             (involuntary manslaughter - I count)
 PHILIP EVERTON MCPHERSON II                                 4e u.s.c. $ 46306(bx7)
                                                             (serving as an airman without a
                                                             certificate - 40 counts)

                                          INDICTMENT

                                           COUNT ONE

THE GRAND JURY CHARGES THAT:

       At all times material to this indictment:

                               Backeround on Pilot Certifications

               1.      The Federal Aviation Administration ("FAA") is an agency within the

United States Department of Transportation ("DOT"), whose primary mission was to ensure the

safety of all air travel. The FAA regulated all civilian aviation matters in the United States and its

territories. As part of its responsibilities, the FAA enforced the Federal Aviation Regulations

("FAR").

               2.      The FAA regulated the certification of "airmen," such as pilots and flight

instructors.r Only FAA certificated pilots could legally operate FAA registered aircraft without

supervision. 14 C.F.R. $ 61.3(a). Under FAA regulations, to become a pilot, an individual had to

first obtain a student pilot's certificate, which permitted them to leam to fly a plane in the



I Throughout this indictment, "pilot" and "airman" have the same meaning and are used
interchangeably
          Case 5:24-cr-00277-JMG Document 1 Filed 08/01/24 Page 2 of 11



presence of an instructor. An individual could obtain a student pilot certificate if they were at

least 16 years of age, were able to meet the FAA Aviation English Language Standard, were able

to pass vetting with the Transportation Security Administration ("TSA"), and were able to

acquire the required medical certificate for the aircraft they would be flying. 14 C.F.R. $ 61.83.

But even with a student pilot certificate, a student pilot was not permitted to operate as the pilot-

in-command of an aircraft carrying passengers. l4 C.F.R. $ 61.89(a). A student pilot was issued

a Temporary Airman Certificate which specifically stated, "PASSENGER CARRYING


PROHIBITED."

                 3.     A pilot-in-command was the person who had final authority and

responsibility for the operation and safety of the flight, had been designated as pilot-in-command

before or during the flight, and held the appropriate category, class, and type rating for the

conduct of the flight. l4 C.F.R. $ 1.1.A passenger was an occupant of an airplane other than the

person operating it or a member of the crew. Only the flight instructor, who was required to have

a valid pilot's certificate and be appropriately certified as an instructor, could serve as the pilot-

in-command when flying with a student. l4 C.F.R. $ 1.1.

                 4.     To fly a normal category single engine aircraft alone, an individual was

required to hold a valid pilot's certificate to act as a pilot-in-command of an aircraft. See 14

C.F.R. $ 61.3(a). All pilots were required to be in possession of a valid pilot's certificate when

operating and piloting a normal category single engine aircraft. See 49 C.F.R. $ 61.3(dXl); la

c.F.R. $ 61.2.

                 5.    A higher level of FAA certification was a commercial pilot's certificate.

Applicants for a commercial pilot's certificate were required to satisfr the specific aeronautical



                                                   2
           Case 5:24-cr-00277-JMG Document 1 Filed 08/01/24 Page 3 of 11



knowledge, flight proficiency, aeronautical experience, and endorsement requirements contained

in 14 C.F.R. Part 6l Subpart F.

                6.      An even more stringent certification was a flight instructor's certificate.

This certificate enabled a pilot to fly with student pilots and instruct them. See L4 C.F.R. S

61.3(d). To be a flight instructor, a pilot was required to have a commercial pilot's certificate,

among other requirements. l4 C.F.R. $ $ 6l . I 83, 6l . 1 95. Pilots serving as flight instructors were

required to have their pilot and flight instructor certificates in their possession when they

operated a normal category single engine aircraft. See 14 C.F.R. $ 61.3(d)(l).

                7.      The FAA had authority to reexamine any FAA certificated pilot or flight

instructor by providing notice detailing the reasonable basis for the reexamination and

information about the scope of the reexamination. 49 U.S.C. $ aa709(a). The FAA Flight

Standard Service ("AFS") Office was responsible for planning, developing, and maintaining

materials related to pilot certification training and testing. Through the knowledge and flight

proficiency tests, AFS Aviation Safety Inspectors ("ASIs") measured a pilot's mastery of

aeronautical knowledge and flight proficiency under the Airman Certification Standards

("ACS"). l4 C.F.R. $ 61.43. If a pilot or flight instructor under reexamination did not meet the

ACS for the certificate or rating sought, the ASI would inform the pilot or instructor of the

reasons for the unsatisfactory performance.

                8.     Following an unsatisfactory flight proficiency test, the certificate holder

would voluntarily surrender their certificate, or the FAA would issue an order amending,

modiffing, suspending, or revoking that certificate. The holder of an FAA pilot or flight

instructor certificate could voluntarily surrender that certificate for cancellation, the issuance of a

lower grade certificate, or for another certificate with specific ratings deleted. l4 C.F.R. $

                                                   3
           Case 5:24-cr-00277-JMG Document 1 Filed 08/01/24 Page 4 of 11



61.27(a). All voluntary surrenders were required to include the following signed statement or its

equivalent: "This request is made for my own reasons, with full knowledge that my (insert name

of certificate or rating, as appropriate) may not be reissued to me unless I again pass the tests

prescribed for its issuance." 14 C.F.R. $ 61.27(b).

               9.      Importantly, no person could exercise the privileges associated with an

FAA certificate, rating, endorsement, or authorization if that certif,rcate, rating, or authorization

was suffendered, suspended, revoked, or expired. 14 C.F.R. S 61.2. "Except for a certificate

issued with an expiration date, apilot certificate is valid unless it is surrendered, suspended, or

revoked." 14 C.F.R. $ 61.19(aX2).

                10.      Unless specifically authorized by the FAA, a person whose pilot or

flight instructor certificate had been suspended or revoked could not apply for any certificate,

rating, or authorization during the period of suspension, nor could they apply for any certificate,

rating, or authorization for one (1) year after the date of revocation. l4 C.F.R. $ 61.13(d)(1)-(2).

                        Background on Aircraft Accident Investigations

                11.    Both the FAA and the National Transportation Safety Board ("NTSB")

had responsibilities relating to aircraft accident investigation. The NTSB was an independent

federal agency charged with investigating civil aviation accidents in the United States. 49 U.S.C.

$$ l13l(a)(l)(A), 1132. Federal regulations required operators to notifr the NTSB immediately

of aviation accidents and certain incidents. 49 C.F.R. S 830.5.

                12.    In addition, the FAA had independent authority to conduct investigations

concerning aviation safety. 49 U.S.C. $ 40113. Only the FAA - not the NTSB - could make

determinations concerning the airworthiness of FAA-certificated aircraft and the competency of

FAA-certifi cated airmen.

                                                  4
           Case 5:24-cr-00277-JMG Document 1 Filed 08/01/24 Page 5 of 11



                13.    The FAA's Office of Accident Investigation and Prevention ("AVP") was

the principal organization within the FAA with respect to aircraft accident investigation and all

activities related to the NTSB. See FAA Order 8020.11D. If an NTSB or FAA accident

investigation implicated an FAA certificate, the FAA could take enforcement action.

                        Background on the Defendant's Certifications,
                    Rpexaun:ination. and Surrender of His Pilot's Certificate

                14.     Defendant PHILIP EVERTON MCPHERSON, II is a resident of

Haddon Township, New Jersey. On January 12,2018, defendant MCPHERSON received his

student pilot's certificate. On April 23,2079, MCPHERSON received a temporary pilot's

certificate pending a retest. After multiple failed practical exams, on December 7,2019,

MCPHERSON received his commercial pilot's certification with an instrument rating. On March

11,2020, MCPHERSON received his flight instructor certificate. His flight instructor

certification was valid only when his pilot certification was valid; indeed, the flight instructor

certificate specifically stated: "VALID ONLY WHEN ACCOMPANIED BY PILOT

CERTIFICATE."

               15.     On both November 18,2020 and March 6,2021, defendant PHILIP

EVERTON MCPHERSON, II flew an aircraft as an instructor with a student pilot when, during

the attempted landing at Central Jersey Regional Airport, the aircraft MCPHERSON was flying

veered off the runway and was substantially damaged. Following these accidents, the FAA

received a Safety Hotline complaint concerning MCPHERSON. An ASI subsequently

investigated the complaint. Based on this investigation, the ASI concluded that the FAA had

reason to question defendant MCPHERSON's "competence as a certificated airman" and that




                                                  5
          Case 5:24-cr-00277-JMG Document 1 Filed 08/01/24 Page 6 of 11



"reexamination of [MCPHERSON's] qualification to be the holder of an airman certificate is

necessary in the interest of safety."

                16.    On May 20,2021, the ASI requested that defendant PHILIP EVERTON

MCPHERSON, II appear for a reexamination and provided MCPHERSON details surrounding

the FAA's reasonable basis for reexamination under 49 U.S.C. 5 44709 ("709 Letter").

MCPHERSON did not respond to the 709 Letter. On July 1,2021, the FAA began calling

defendant MCPHERSON to schedule the reexamination. During this time, MCPHERSON

continued to fly and instruct students.

                17.    On September 29,2021, an ASI performed a reexamination of defendant

PHILIP EVERTON MCPHERSON, II's deficiencies regarding his takeoffs and'ogo-arounds."2

Defendant MCPHERSON failed the go-around portion of his reexamination. In fact, the ASI had

to assume control of the aircraft that MCPHERSON was flying or the plane could have crashed.

The ASI explained to defendant MCPHERSON - both in-person and in writing - the reasons

why MCPHERSON failed the reexamination. Although a second opportunity for reexamination

was available, MCPHERSON never requested it.

                18.    On October 7,2021, defendant PHILIP EVERTON MCPHERSON, II

surrendered his pilot's certificate by signing a Voluntary Deposit of Certificate. MCPHERSON's

pilot's certificate was attached to the Deposit of Certificate. That same day, the FAA issued

defendant MCPHERSON a Temporary Airman Certificate, which permitted MCPHERSON to

only fly by himself, or with an instructor, in order to train and remediate his competence issues.

The Temporary Airman Certificate stated, "PASSENGER CARRYING PROHIBITED." The



2 A "go-around" is when a pilot is in the process of landing, but receives an instruction not to
land and must, therefore, continue to fly.
                                                 6
           Case 5:24-cr-00277-JMG Document 1 Filed 08/01/24 Page 7 of 11



Temporary Airman Certificate was set to expire on November 8,2021. Surrendering his pilot's

certificate meant that MCPHERSON was no longer able to fly as a flight instructor with

students, both because his temporary certification prohibited him from flying with passengers

and because his flight instructor certification was not valid unless accompanied by his pilot's

certification, which was no longer in his possession.

                19.     On November 8, 2021, defendant PHILIP EVERTON MCPHERSON, II's

Temporary Airman Certificate expired. As of this date, defendant MCPHERSON was not

permitted to fly at all because all pilots must be in possession of a pilot's certificate during

operation of an aircraft. See 14 C.F.R. $ 61.3(dxl); 14 C.F.R. S 61.2.

                20.    From in or about April202l to at least September 28,2022, defendant

PHILIP EVERTON MCPHERSON, II worked for Proflite Aero LLC, located in Easton,

Pennsylvania, which provided student pilot instruction.

                      The Defendant's Involuntarv Manslaushter of K.K.

                21.    On September 28, 2022, in the Eastern District of Pennsylvania, at

approximately 1:41 p.m., defendant PHILIP EVERTON MCPHERSON, II took off from Queen

City Airport in Allentown, Pennsylvania with student pilot K.K., known to the grand jury, in a

Piper-28- I 40 aircraft, identification number N7329F.

               22.     On September28,2022, defendant PHILIP EVERTON MCPHERSON,

II, in the Eastern District of Pennsylvania, and within the special aircraft jurisdiction of the

United States, in a civil aircraft of the United States, did intentionally, and with wanton and

reckless disregard for the life of his student pilot K.K., operate an aircraft as a pilot-in-command

of that aircraft knowing (a) he was not competent to safely operate that aircraft in that he had two

prior accidents and almost a third; (b) he had failed his September 29,2021reexamination for his

                                                  7
          Case 5:24-cr-00277-JMG Document 1 Filed 08/01/24 Page 8 of 11



pilot's certificate for a lack of demonstrated competence; (c) he had voluntarily surrendered his

pilot's certificate on October 7,2021 acknowledging his lack of competence; and (d) he allowed

his Temporary Airman Certificate to expire on November 8,2021thereby further acknowledging

his inability to demonstrate to the satisfaction of the FAA competence to fly safely. Defendant

MCPHERSON acted without malice but with gross negligence in the commission of a la'*fill act

which might produce death, that is, flying an aircraft, in an unlawful manner or without due

caution and circumspection, resulting in the aircraft crashing shortly after takeoff and the death

of K.K. But for MCPHERSON's intentional and grossly negligent disregard for the safety of

K.K., knowing he was not competent to safely fly the aircraft as the pilot in command since he

had never mastered the skills necessary to safely operate the aircraft, K.K. would not have died.

               In violation of Title I 8, United States Code, Section 1 1 12.




                                                  8
          Case 5:24-cr-00277-JMG Document 1 Filed 08/01/24 Page 9 of 11



                              COUNTS TWO THROUGH FORTY.ONE

THE GRAND JURY FURTHER CHARGES THAT:

                  1.    Paragraphs I through 20 of Count One are incorporated here.

                  2.    On or about the dates set forth below, in the Eastern District of

Pennsylvania and elsewhere, defendant PHILIP EVERTON MCPHERSON,II knowingly and

willfully served and attempted to serve as an airman without an airman's certificate authorizing

him to serve in that capacity, that is, on each of these occasions, defendant MCPHERSON flew

and served as pilot-in-command of an aircraft with passengers without possessing an FAA pilot's

certificate permitting him to do so:


             Count     Date            Passenger        Airport
                                       Initials
             2         10/121202t      C.R.             N43 (Braden Airpark, Easton
                                                        PA, Northhampton County)
             J         1011312021      C.R.             N43 (Braden Airpark, PA)
             4         1011412021      C.R.             N43 (Braden Airpark, PA)
             5         r0n5t202t       L.W.             N43 (Braden Airpark, PA)
             6         r0n9l202t       C.R.             N43 (Braden Airpark, PA)
             7         10t20t2021      C.R.             N43 (Braden Airpark, PA)
             8         101281202t      L.W.             N43 (Braden Airpark, PA)
             9         111412021       L.W.             N43 (Braden Airpark, PA)
             l0        1U512021        L.W.             N43 (Braden Airpark, PA)
             ll        tyt7l202t       L.W.             N43 (Braden Airpark, PA)
             t2        tvt7l202t       B.M.             N43 (Braden Airpark, PA)
             r3        1Ut8l202t       B.M.             N43 (Braden Airpark, PA)
             t4        121121202t      B.M.             N43 (Braden Airpark, PA)
             15        t2l2l202l       B.M.             N43 (Braden Airpark, PA)
             t6        12t2312021      B.M.             N43 (Braden Airpark, PA)
             t7        r212812021      B.M.             N43 (Braden Airpark, PA)
             18        y2U2022         A.L.             N43 (Braden Airpark, PA)
             t9        112312022       A.L.             N43 (Braden Airpark, PA)
             20        112312022       B.M.             N43 (Braden Airpark, PA)
             21        21812022        L.W              N43 (Braden Airpark, PA)
             22        211s12022       L.W              N43 (Braden Airpark, PA)
             23        212012022       A.L.             N43 (Braden Airpark, PA)
                                                   9
      Case 5:24-cr-00277-JMG Document 1 Filed 08/01/24 Page 10 of 11



        24    2120/2022      B.M.              N43 (Braden Airpark, PA)
        25    212112022      L.W               N43 (Braden Airpark, PA)
        26    311412022      A.L               N43 (Braden Airpark, PA)
        27    3/t5/2022      L.W               N43 (Braden Airpark, PA)
        28    3/t7/2022      B.M.              N43 (Braden Airpark, PA)
        29    5/U2022        A.L.              N43 (Braden Airpark, PA)
        30    6/4t2022       A.L.              N43 (Braden Airpark, PA)
        31    61s12022       A.L.              N43 (Braden Airpark, PA)
        32    6/r0/2022      A.L.              N43 (Braden Airpark, PA)
        33    61r512022      A.L.              N43 (Braden Airpark, PA)
        34    612612022      K.K.              KXLL (Allentown Queen
                                               City Municipal Airport, PA,
                                               Lehieh County)
        35    7t8t2022       B.M.              N43 (Braden Airpark, PA)
        36    7n|t2022       K.K.              N43 (Braden Airpark, PA)
        5t    7tr7/2022      B.M.              N43 (Braden Airpark, PA)
        38    812712022      A.L.              N43 (Braden Airpark, PA)
        39    9t912022       K.K.              KXLL (Allentown Queen City
                                               Municipal Airport, PA)
        40    9t20t2022      C.R.              N43 (Braden Airpark, PA)
        41    912012022      K.K.              KXLL (Allentown Queen City
                                               Municipal Airport, PA)

              All in violation of Title 49 U.S.C. Section 46306(b)(7).




,s$dc$"l*
JACQUELINE C. ROMERO
UNITED STATES ATTORNEY




                                         10
Case 5:24-cr-00277-JMG Document 1 Filed 08/01/24 Page 11 of 11




   No. 24-

                UNITED STATES DISTRICT COURT

                    Eastern District of Pennsylvania
                           Criminal Division

              TFM UNITED STATES OF AMERICA
                                  vs.


                  PHILIP EVERTON MCPHERSON II

                            INDICTMENT

                                Counts
                     l8 U.S.C. $ I I l2 involuntary
                       manslaughter - I count)
                 49 U.S.C. $ 46306(bX7) (serving as an
                           airman without a
                        certificate - 40 counts)
